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                      IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

        Plaintiff/Respondent,

v.                                                                  No. 16-cv-0736 RB/SMV
                                                                    No. 09-cr-2968 RB

DANIEL RAMON MUÑOZ,

        Defendant/Movant.


                  ORDER DIRECTING THE PARTIES TO CONFER
               AND FILE A JOINT STATEMENT IN LIGHT OF BECKLES

        THIS MATTER is before the Court sua sponte under Rule 4 of the Rules Governing

Section 2255 Proceedings, in light of the U.S. Supreme Court’s ruling in Beckles v. United

States, 580 U.S. ___, No. 15-8544, slip op (March 6, 2017). Movant Daniel Ramon Muñoz filed

a motion pursuant to 28 U.S.C. § 2255, claiming that he improperly received an enhanced

sentence as a career offender under the United States Sentencing Guidelines (“USSG”) because

the residual clause of USSG § 4B1.2 is unconstitutionally vague under the reasoning in Johnson

v. United States, 576 U.S. ___, 135 S.Ct. 2551 (2015). [CV Doc. 1]; [CR Doc. 531]. The

United States filed a motion requesting a stay of proceedings pending ruling in Beckles.

[CV Doc. 5]; [CR Doc. 537]. Beckles has been decided, and the Supreme Court has held that the

USSG are not subject to a void-for-vagueness challenge. 580 U.S. ___, No. 15-8544, slip op

at 5.
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       Accordingly, the Court will deny as moot the motion to stay and direct the parties to

confer on the question of whether the Supreme Court’s ruling in Beckles is dispositive of all

issues raised in this § 2255 proceeding and to file a joint statement advising the Court of the

results of their conference. If either party contends that Beckles does not dispose of all issues,

the statement shall identify the issue or issues that remain for determination by the Court after

Beckles and the party raising the remaining issue or issues. The parties shall confer and file the

joint statement within 14 days of entry of this Order. If neither party claims that an issue

remains for adjudication following Beckles, the Court will enter an Order dismissing this § 2255

proceeding. If the parties contend that issues still remain for determination, the Court will enter

an order setting a schedule for supplemental briefing.

       IT IS ORDERED that the Parties shall confer on the question of whether the Supreme

Court’s ruling in Beckles is dispositive of all issues raised in this § 2255 proceeding and file a

joint statement advising the Court of the results of their conference within 14 days of entry of

this Order.

       IT IS FURTHER ORDERED that the Motion for Stay of Proceedings Pending the

Supreme Court’s Decision in United States v. Beckles [CV Doc. 5]; [CR Doc. 537] is DENIED.




                                                     ___________________________________
                                                     STEPHAN M. VIDMAR
                                                     United States Magistrate Judge




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